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EXhibit 22

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Exam'inailon Nurnber. 20120302314
September 28, 2012

Report on the Examination of
ALP|NE SECQR|T|ES CORPORATION

SALT LAKE (.?lTYl UTAH

We have recently completed the F|nanc|ai/Operational and Sa|es Practice examination ot your
firm. Our examination is not an audit and ls not designed to be a substitute for management's
responsibility to comply with appropriate securities rules and regulations

The examination included reviews of the following regulatory areas:

» Nei Captiel
» Operations
o Organ|zation and internal Contro|s
» Reserve Forrnu|a
o Saies Practice
o Unden~riiing
Excegtions:
1. Excagtion:

The member organization was not in compliance with SEA Ruie 15c3-3 (Exh|blt A - item 10)
(Customer Debit Balences) as elaborated in NASD Notlce to Members 98-99 (Proprietery
Aocounts of introducing BrokerlDea|ers).

Detail:

A review of the tinn's PA|B computation as of November 30, 2011 disclosed that the firm
improperly included a $53,219 debit for the allocation of its NSCC clearing deposit to its
correspondents Further review of this debit disclosed that the firm based its allocation
methodology of its clearing deposit on both the proprietary and customer activity of lie
correspondents The firm should have only allocated the deposit based on the proprietary activity
of its correspondents Exc|uding this erroneous debit from the tirm's PAlB computation resulted in
nine hindsight deficiencies ior the period January 1l 2011 through December 31. 2011 in

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amounts ranging from approximately $11.000 to $65,450. The firm filed a F'A|B deficiency notice
with the SEC and F|NRA on May 9"', 2012.

2. Excegdon:

The member organization was not in compliance with F|NRA Rule 11810(i)(4) ('Close-Out" Under
Unit'orm Practice Code Commiitee Ruiings) and NASD Rule 301 O(a) (Supervisory System).

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A review of the firm's processes for.de|ivering customer securities sold ex-CNS disclosed that in
certain instances, the firm will reestablish a position in the customer's account where ltfaited to
deliver the security and was subsequently “bought ln". Specliicaily, the firm will on occasion,
based on the expertise of the broker, intentionally fail to deliver customer securities sold broker-
to-broker until the entire position is sold to save the customer transfer fees. i-iowever, ifihe
contra-broker "buys in“ the iirm. the firm places the position back in the customer’s account,
subjecting the customer to the gains or losses incurred during the settlement period.

3. Excegtion:

The member organization was not in compliance with NASD Ruie 3010 (Supervision) and F|NRA
Rule 2010 (Standerds of Commercial Honor and Princlpies of Trada), as elaborated in FiNRA
Regulatory Notlce 10-57 (Fundlng and l.lqu|d|ty Risi< Manegemeni Practioes).

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A review of the tirrn's funding and liquidity processes noted instances in which the firm may be
unable to meet its funding needs, specifically its NSCC deposit requirement with its present
funding resources Currenily, the firm does not maintain any available lines of credit and solely
relies upon cash deposits from the owner, .iohn l~iun'y, for contingent funding purposes, although
a formal lending agreement is not maintained When the owner deposits funds they are classified
as a non~customer payable. The monies are utilized for the firrn's funding needs however they are
not classified as capital contributions

Depos|ts from Hurry:
o Deposited $2 lili|ll|on on Sopiember 2““, 2011. Funds withdrawn on September
7"‘, 2011. The funds were held for two business days and utilized as a cushion for
a large NSCC deposit requirement that occurred prior to the withdrawal of funds.

o Deposited $1 Niil|ion on October 3"’, 201 'l. Funds withdrawn on October 10""

201 'i. The funds were held for six business days and utilized as a cushion for a
large NSCC deposit requirement and a reserve formula cushion.

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The member organization was not in compliance with SEA Rule 15c3~3 (Exh|blt A - item 10)
(Customer Debit Balances) and NASD Rule 301 O(e) (Supervisory System).

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A review of the firm‘s Customer Reserve Formu|a Computatlons for the period September 1, 2011
through November.SiJ, 2011 disoiosed that the iirni'faiied to review cusio_rper-debits.for ` ‘
appropriateness when it is required to compute weekly computationsl The firm maintains month-
end controls to ensure that certain types of potentially disallowable debits, specifically
prepayments to money market sweep customers and pre-settlement withdrawaia, would be
excluded in its monthly reserve computation Howeverl since the firm does engage in
prepayments to money market sweep customers and pre-settlement withdrawals lntra_month. lt
includes all of these debits when lt is required to perform weekly computations A review of four
debits in the iirm’s customer reserve formula computation as cf October 7. 2012 disclosed that
two of them stemmed from pre-settlement withdrawals

5- steam
The member organization was not in compliance with NASD Rule 3010(1:) tWritten Procedures).
Detaii:
The firm failed to maintain written supervisory procedures for vetting and performing periodic
reviews of its correspondents A review of the firm's processes for reviewing the financial strength
of its correspondents disclosed that the firrn's procedures were adequate These included but

were not limited to a review of each correspondents annual audit report and at least a quarterly
review of financial statementsl However. the firm failed to maintain these procedures in writing.

6. Excegtion:

The member organization was not in compliance with F|NRA Rule 3310 (a) (Suspicious Activity
Reporting Compiiance), 31 CFR1023.320(a), and 31 CFR 1023. 320(b)(3) (Reporis by Ei-Ds in
Securitles of Susplcious Trensaction).

Detail:
The firm filed 823 Suspiclous Activity Reports (SARS) during the review period (Niarch 7, 2011 -

Januery 22, 2012). However. it did not file any such reports for the two month perlod, March 1,
2011 through May 10, 2011 and for the four month period. Augusi 16. 2011 - December 19.

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2011 . During this time frame, the firm's business model was consistent therefore it would appear
that the firm did not follow its procedures or otherwise comply with the Ruiee.

Jemee Walker was the person responsible for filing SARS until Aprii 30. 2011. As stated by the
firm in an emeit, Todd Groskreutz (CCO) noted that Weiker had numerous conversations with
different regulators and ali indicated that A|pine Securities was filing too many SARS.
Consequentiy. he reexamined the threshoide that the firm established end more closely examined
the criteria outlined on the SARS report to determine what he felt should be filed. if none were
filed during March 1. 2011 - May 10, 2011 , lt would have been because his review indicated that
nothing needed to be filed based on his analysis and criteria

Besed upon customer activity of the firm and subsequent SAEt filings,~ it appears'thet the
threehoids established by Waiker were inadequate:

For the four month period, August 16, 2011 - Decemb'er 19, 2011, Staff was informed by
Groskreutz that he was unaware at the time that no SARS were being filed by the person
responsible for the filings, Eiisha Werner. When he became aware of this fact, Werner informed
him that these filings were discretionary and subjective and therefore she did not file any.

Once Groskreuiz became aware of the fact of Wemer not filing any SARS, the firm subsequently
made the filinge. Howeverl the person responsible for filing the SARS had previously been aware
of thee ectivity. but had determined not to make any filings Therefore, these filings were all late
filings as the SAR should have to be filed no later than 30 calendar days after the initial detection
of the suspicious ectivity.

Based on the foregoing, it appears that the firm failed to establish and enforce procedures
reasonably designed to detect and report euspwous activity.
7. Exce '

The member organization was not in compliance with 31 CFR 1023.320 (a)(1) (Reports by B-Ds
in securities of suspicious transactions - When to iiie).

Detall:

Durln| the period of March ?. 2011 through January 22. 2012, the tirm's Suspicious Activity
Report ("SAR") log had approximately 823 entries.

The narratives for atl SARs reviewed were substantively inadequate as they failed to tuily
describe why the activity was suspicious Fcr the SARs reviewed, the narrative just described
isolated events of activity without any detail or support of why the firm actually considered the

§§tivity to be suspicious and therefore failing to justify at the basic core the legitimacy of the SAR
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The two basic formats or templaies used by the iirml neither of which were substantively
adequate as they failed to fully describe why the activity was suspicious:

1. On or around December 09. 2011 ABC LLC deposited a large quantity (40,000,000 shares) of
XYZ Corp. a iow-priwd ($0.0001/share) security. (Thls format was utilized in 559 instances)

2. ABC inc. is a client cf ACAP Financial, a firm for which Alplne Securlties provides securities
clearing services. Due to the activity within this account. it has been placed on a Heighlened
Supsrvisory llst. lt is policy of Alplne to tile a SARs related to each deposit of securities into
accounts of this nature. On or around 12123/2011, ABC lnc. deposited a large quantity
(5,097,312) cf X¥Z Corp, a low-priced ($.0045 lehare) securiiy. '_l'hls transaction amounted to
approximately $22,938.00. (T his format was.ut|llzed in'284 lnstances) :~ . '

8. Exce on:

The member organization was not in compliance with 31 CFR 1010.520 (lnforrnailon sharing
between Federa| law enforcement agencies and financial institutions).

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The firm did not review any 314(a) requests from FlnCEN during the lime period Nlay16, 2011 -
January 19, 2012 (16 weeks). Addltionaily, from Aer 19, 2011 - May 3. 2011. the reviews were
not veriiied. (Two weeke)

9-Ex_cemio_m

The member organization was not in compliance with F|NRA Rule 3310(0) (Tesilng cf AML
Compliance ngrem).

MLl;
The 2011 AML audit conducted by Jensen & Keddington. P.C .dld notappear adequate as lt
failed to identify the iirm lapses noted above with respect to reviewing the 31 _4(a) requests from .

FinCEN, and failed to identify inadequacies in the tirm's detection and reporting of suspicious
activity.

10. Excegtion:

The member organization was nci in compliance with NASD Rule 301 O(b)(i) (Wriiien
Prooedures).

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The firm failed to enforce its written supervisory procedures with respect to the foilowing:

'i. When a written complaint is received, a copy should be forwarded immediately to Comp|iance
for follow-up (WSP Manuai page 94, Sect|on 7.`!.2)

2. if the F|rm decides to file a SAR with FinCEN, the AN|L Compl|ance Officer will tile within 30
days of becoming aware of the suspicious transaction (WSP Nlenua| page 158. Section 9.11.3)

3. Ftequests ior information from FinCEN must be forwarded to the AML Compllence Ofilcer for

response The firm must conduct a search of the required records and, if a match is i'oundl submit
the Subject information Form to F"inCEN (WSP Manuai page 159, Section 9.12.2)

The contents of this report and the examination process were reviewed during an Exli Meeting on
Monday, Ju|y 23, 2012 with the following participants:

MEMBER ORGANIZATION PERSONNEL:

 

Robert Tew Chief Exeoutlve Officer
Todc| Groskreutz Chief Finanoie| Offlcer

E|NRA FERSONNEL:

Gera|d Dougherty Deputy Dh'ector

Nleianle Chan Surveillance Director

Rebecrz Kramer Examinatlon Manager

Eric Cltrln Prlncipa| Regulaiory Coord|naior
Cynthle Ponlkvar Pr'lncipal Regulatory Coordlnalor
Steven Bender Princlpa| Exam|ner

.iames Herth Prlnclpa| Examiner

Sean O‘Connor Aesoc|ate Princlpa| Examfnar
Yuiiane Landers Exem|ner

Lawrence Sh|kerman Examiner

The following F|NRA staff members participated in the examinationl but were not present at the

Exli Meeting:
Kalhieen Nage| Examlnetlon Director
Cherles Mll|er Examiner

This form does not in any way constitute a waiver ofthe notification prohibitions set forth in 31
U.S. C. 5318(9} with respect to any suspicious activity report discussed herein. Consequentiy,
any references in this letter to a suspicious activity report or its existence ere contidentr`ai, and

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may not be disclosed by you to the subject of the report, or otherwise disclosed fn a manner
outside your firm that would lead to the subject of the report being notified. The improper
disclosure of a suspicious activity report, either in contravention of section 531 B(g) or of a related
ruiz im;;lementlng that authority, is punishable by criminal and civil penalties See 31 U.S.C. 5321
en 53 2.

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